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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION



Elie Nasser                                 §
                                            §
versus                                      §           Case Number: 4:18−cv−04695
                                            §
Finance of America Reverse LLC, et al.      §


                             Notice of Cancellation
A proceeding in this case has been canceled as set forth below.
      Canceled setting: Status Conference
      Date and Time: 10/15/2021 at 11:30 AM by video


Date: October 12, 2021
                                                                  Nathan Ochsner, Clerk
